Case 2:15-cv-01715-JRG-RSP Document 19 Filed 04/28/16 Page 1 of 1 PageID #: 150




                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION


 VIRTUAL GAMING TECHNOLOGIES, LLC,

                   Plaintiff,
                                                    Civil Action No. 2:15-cv-1706
              v.

 DRAFTKINGS, INC.,

                   Defendant.


 VIRTUAL GAMING TECHNOLOGIES, LLC,
                   Plaintiff,
                                                    Civil Action No. 2:15-cv-1715
              v.

 NFL ENTERPRISES, LLC,

                   Defendant.
 .




                           ORDER OF DISMISSAL WITH PREJUDICE

        On this date came for consideration the Joint Motion to Dismiss With Prejudice. The Court

 being of the opinion that same should be GRANTED, it is therefore,

        ORDERED that the Joint Motion to Dismiss With Prejudice be and hereby is GRANTED,

 and that all claims asserted in this action against NFL Enterprises, LLC by Plaintiff are hereby

 dismissed with prejudice. Each party shall bear its own costs, expenses, and attorneys’ fees.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 28th day of April, 2016.




                                                     ____________________________________
                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE
